     Case 5:21-cv-00796-VAP-E Document 16 Filed 11/16/21 Page 1 of 2 Page ID #:46



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 8                            UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   JOHN ANTHONY DUKE, SR.,                 )     NO. ED CV 21-796-VAP(E)
                                             )
12                          Plaintiff,       )
                                             )
13         v.                                )     ORDER TO SHOW CAUSE
                                             )
14   J. WALKER, ET AL.,                      )
                                             )
15                          Defendants.      )
                                             )
16

17         Plaintiff filed a complaint on May 4, 2021.         It appears that
18   proper service of the summons and complaint was not made upon any
19   defendant within 90 days after the filing of the complaint or during
20   the extended period for service allowed by the Minute Order, filed
21   September 9, 2021.     Therefore, pursuant to Rule 4(m) of the Federal
22   Rules of Civil Procedure, IT IS ORDERED that, within thirty (30) days
23   of the date of this Order, Plaintiff shall show cause, if there be
24   any, why proper service was not made timely and why this action
25   should not be dismissed without prejudice for want of prosecution.
26   Plaintiff shall attempt to show such cause by filing a declaration,
27   ///
28   ///
     Case 5:21-cv-00796-VAP-E Document 16 Filed 11/16/21 Page 2 of 2 Page ID #:47



 1   signed under penalty of perjury.       Failure timely to file such a

 2   declaration may result in the dismissal of this action without

 3   prejudice.

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 5        DATED:    November 16, 2021.

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 8                                                  /S/
                                               CHARLES F. EICK
 9                                      UNITED STATES MAGISTRATE JUDGE
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